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AO 91 (Rev. 01/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District ofNew Mexico

 

United States of America )
v. )
) Case No: \§ n\_§ `\LQLLQ
Jesus Noe ACOSTA-Reyes §
)
Deferrdarrt(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of May 15, 2018 in the county of Dona Ana in the State and District of New Mexico, the defendant violated §

U.S.C. §l§§g§{a!( l ),(2)(R_e-E,g1[y AQ;er Depo;tl, an offense described as follows:

an alien, who had been previously arrested and deported from the United States and who had not received the consent of
the appropriate authority of the United States to reapply for admission into the United States, was found in the United
States, being willfully in the United States unlawfully

This criminal complaint is based on these facts:
On May 15, 2018, a United States Border Patrol Agent encountered the Defendant in Dona Ana County, New Mexico.
When questioned as to his citizenship the Defendant admitted to being a citizen of Mexico without authorization to enter
or remain in the United States. Record checks revealed that the Defendant had been previously deported to Mexico via
DEL RlO, 'I`X on or about February 15, 2018. There is no evidence that the Defendant received permission from the
appropriate Authority to reapply for admission into the United States.

[l Continued on the attached sheet.

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Canr;Mrant's signature

Giovanni A. Cisneros‘ Border Patrol Agent
Primed name and tide

Swom to before me and signed in my presence 7
Dare: May 17,2013 %€F_

KEle df“§i)l/WEA

City and states Las Cruces, N.M. U.S. MAG|S‘TRATE JUDGE

Pr.inred name and title

 

 

 

